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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Philip A. Brimmer

Civil Action No. 14-cv-02966-PAB

ASSOCIATION OF CHRISTIAN SCHOOLS INTERNATIONAL,
SAMARITAN MINISTRIES INTERNATIONAL,
TAYLOR UNIVERSITY,
INDIANA WESLEYAN UNIVERSITY,
ASBURY THEOLOGICAL SEMINARY, and
ALLIANCE DEFENDING FREEDOM,

       Plaintiffs,

v.

ALEX AZAR, in his official capacity as Secretary of the United States Department of
Health and Human Services,
R. ALEXANDER ACOSTA, in his official capacity as Secretary of the United States
Department of Labor,
STEVEN T. MNUCHIN, in his official capacity as Secretary of the United States
Department of the Treasury;
UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
UNITED STATES DEPARTMENT OF LABOR, and
UNITED STATES DEPARTMENT OF THE TREASURY,

     Defendants.
_____________________________________________________________________

                                ORDER
_____________________________________________________________________

       This matter comes before the Court on Plaintiffs’ Motion for Permanent

Injunction and Declaratory Judgment [Docket No. 45]. Defendants filed a response to

the motion on September 6, 2018, in which they concede that “requiring employers with

sincerely held religious objections to comply with the Mandate or the accommodation

process would violate RFRA.” Docket No. 47 at 1. Defendants take no position on the

propriety of granting plaintiffs’ request for declaratory and injunctive relief. Id. at 1.

Based on defendants’ response and the record in this case, the Court f inds that
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plaintiffs have satisfied the requirements for a permanent injunction under Fed. R. Civ.

P. 65(d) and declaratory relief under 28 U.S.C. § 2201.

       First, plaintiffs have demonstrated that requiring them to comply with 42 U.S.C.

§ 300gg-13(a)(4), to the extent such compliance conflicts with plaintiffs’ sincerely held

religious beliefs, violates plaintiffs’ rights under the Religious Freedom Restoration Act

(“RFRA”), 42 U.S.C. § 2000bb et seq.

       Second, plaintiffs will suffer irreparable harm unless defendants are enjoined

from interfering with plaintiffs’ practice of their religious beliefs.

       Third, the threatened harm to plaintiffs outweighs any injury to defendants

resulting from this injunction.

       Fourth, the public interest in the vindication of religious freedom favors the entry

of a permanent injunction.

       Wherefore, it is ORDERED as follows:

       1.      Plaintiffs’ Motion for Permanent Injunction and Declaratory Judgment

               [Docket No. 45] is GRANTED.

       2.      Defendants and their agents, officers, and employees, and all others in

               active concert or participation with them, including their successors in

               office, are hereby permanently ENJOINED and RESTRAINED:

                      a.      From applying or enforcing the requirements of 42 U.S.C.

                              § 300gg-13(a)(4) and any implementing regulations as those

                              requirements relate to the provision of sterilization or

                              contraceptive drugs, devices, procedures, and related



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                          education and counseling to which plaintiffs have sincerely-

                          held religious objections; and

                   b.     From pursuing, charging, or assessing penalties, fines,

                          assessments, or any other enforcement actions for past,

                          present, or future noncompliance with those requirements

                          thereto, including those found in 26 U.S.C. § 4980D and 29

                          U.S.C. § 1132, for failing to offer, provide, or otherwise

                          facilitate access to sterilization or contraceptive drugs,

                          devices, procedures, or related education and counseling to

                          which plaintiffs have sincerely-held religious objections,

                          against plaintiffs and any insurers or third-party

                          administrators acting on behalf of plaintiffs with respect to

                          their health plans.

      3.    It is DECLARED that the requirements of 42 U.S.C. § 300gg-13(a)(4), as

            those requirements relate to the provision of sterilization or contraceptive

            drugs, devices, procedures, and related education and counseling to

            which plaintiffs have sincerely-held religious objections, violate plaintiffs’

            rights under the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb

            et seq.

      4.    Within 14 days of the entry of this Order, plaintiffs may have their costs by

            filing a Bill of Costs with the Clerk of the Court.

      5.    This case is closed.



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      DATED December 10, 2018.

                                   BY THE COURT:


                                    s/Philip A. Brimmer
                                   PHILIP A. BRIMMER
                                   United States District Judge




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